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                            UNITED STATES DISTRICT COURT

                       NORTHERN DISTRICT OF CALIFORNIA

                               SAN FRANCISCO DIVISION


IN RE: CATHODE RAY TUBE (CRT)               Master File No. CV-07-5944-SC
ANTITRUST LITIGATION                        MDL No. 1917

This Document Relates to:                   REBUTTAL DECLARATION OF
                                            PROFESSOR ROBERT D. WILLIG IN
ALL INDIRECT-PURCHASER ACTIONS              SUPPORT OF DEFENDANTS’
                                            MOTION TO STRIKE THE
                                            PROPOSED EXPERT TESTIMONY
                                            OF DR. JANET S. NETZ




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I.        Assignment
          1.      I am a Professor of Economics and Public Affairs at the Woodrow Wilson School
          and the Economics Department of Princeton University, USA. I am also a Senior
          Consultant at Compass Lexecon, an economics consulting firm based in the U.S.

          2.      I have been retained by the Defendants1 to address whether Plaintiffs are likely to
          be able to demonstrate through common proof on a class-wide basis, that all of the
          members of the proposed indirect purchaser class (“the IPP class”) suffered economic
          injury from the alleged conspiracy. I was also asked to review the expert report filed by
          Dr. Janet Netz, the economic expert for the IPP class, on October 1, 2012 (“Netz Initial
          Report”2) and opine on the analyses and views presented therein. Pursuant to this
          assignment, I filed an expert report on December 17, 2012 (“Willig Report” or “my
          report”).3

          3.      Since then, Dr. Netz has filed a declaration in support of Indirect Purchaser
          Plaintiffs’ response to the Defendants’ motion to strike her proposed testimony (“Netz
          Declaration”)4 and a rebuttal report (“Netz Rebuttal Report”).5 Counsel for Defendants
          have asked me to review and respond to the opinions and analyses contained in the new
          Netz Declaration and Netz Rebuttal Report with respect to all issues relevant to
          Defendants’ Motion to Strike the Proposed Expert Testimony of Dr. Janet S. Netz.

          4.      A list of matters in which I have given sworn testimony as an expert during the
          past four years, at trial or in deposition, is contained in Attachment 1. A list of the


1
  I have been retained by LG, SDI, Philips, Hitachi, Toshiba, Panasonic, and MTPD. I was also retained
by SEA and SEC until March 12, 2013, the date the IPP class voluntarily dismissed those companies from
their case.
2
 Declaration of Janet S. Netz, Ph.D. in Support of Motion of Indirect-Purchaser Plaintiffs for Class
Certification, October 1, 2012.
3
    Expert Report of Robert D. Willig, December 17, 2012.
4
 Declaration of Janet S. Netz, Ph.D., in Support of Indirect-Purchaser Plaintiffs’ Opposition to
Defendants’ Motion to Strike the Proposed Expert Testimony of Dr. Janet S. Netz, February 15, 2013.
5
 Rebuttal Declaration of Janet S. Netz, Ph.D., in Support of Motion of Indirect-Purchaser Plaintiffs for
Class Certification, February 15, 2013.



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          information and data I relied upon in forming the opinions expressed herein is contained
          in Attachment 2. My opinions expressed herein are based on those materials and data, my
          knowledge and experience in industrial organization economics and antitrust economics,
          my experience in antitrust enforcement at the U.S. Department of Justice, and my
          experience in advising and consulting with clients on competition matters over the past
          30 years, both here and abroad.

          5.       The opinions expressed in this declaration reflect the information and facts I
          believe to be true at the time this declaration is filed. I reserve the right to revise my
          opinions if additional information and facts supplied in discovery or through subsequent
          expert reports and depositions make such revisions appropriate.

          6.       Compass Lexecon is being compensated for my work at my usual hourly rate of
          $1,350, which is the same rate for research and testimony. This compensation is in no
          way connected to the outcome of this litigation.


II.       Summary of Opinions
          7.       Dr. Netz’s conclusions are not “based on sound judgments that combine the facts
          and data of the case with widely accepted methods of economics,” as she claims.6
          Further, her opinions are not “consistent with generally-accepted economic theories and
          principles found in textbooks,” nor are her “methods [for] evaluat[ing] the facts and data
          of the case consistent with the research implementing and testing these theories and
          principles on real world data published in peer-reviewed scholarly journals,” as she
          herself admitted in her deposition.7 In this section, I briefly summarize the key points that
          demonstrate the lack of support for Dr. Netz’s opinions. I provide a more detailed
          analysis in the body of this declaration.



6
    Netz Declaration, p. 3.
7
 Netz Declaration, p. 3. Specifically, Dr. Netz admitted during her deposition that she was unaware of her
use of the term “price structure” being employed in a published peer-reviewed journal in the context of an
unregulated industry. (Deposition of Dr. Janet Netz, March 15, 2013 (“Netz Deposition Vol. 2”), pp. 386-
389.)



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        8.      Dr. Netz’s opinion that classwide impact can be established using common
        methods and evidence rests on three claims: (a) Defendants’ actual CRT prices were
        close to the alleged applicable target prices set by the alleged cartel; (b) a so-called “price
        structure” existed for CRTs; and (c) pass-through rates were uniformly positive across all
        CRT finished products sold by a given entity (i.e., that there was universal pass-through
        by retailers and manufacturers). If any one of these three claims is incorrect, then her
        entire methodology for establishing common impact on indirect purchasers collapses. In
        fact, all three claims are fundamentally incorrect, thereby rendering her conclusions
        unreliable, as I discuss below.

        9.      Dr. Netz claims that the alleged target prices were always above the but-for (i.e.,
        competitive) level and that actual CRT prices were close to the alleged target prices.
        However, Dr. Netz offers no basis for her claim that the alleged target CRT prices were
        always above the competitive level, and in fact Dr. Netz contradicts this assumption
        herself in her Rebuttal Report. Specifically, she acknowledges that market conditions can
        change after a target price is set, potentially causing competitive prices to be above or
        below the alleged target price. It thus follows that even if the alleged cartel set a target
        price above what it expected to be the competitive level, unexpected changes in market
        conditions could propel the competitive price above the target price, likely resulting in no
        impact on direct purchasers and consequently no impact indirect purchasers.

        10.     Even accepting Dr. Netz’s assumption that the alleged target CRT prices were
        always above the but-for CRT price, she nonetheless fails to demonstrate that any actual
        CRT price was higher than the corresponding target price, much less the corresponding
        but-for price. In particular, Dr. Netz is not able to explain how her comparison of actual
        and alleged target prices is reliable despite its bias towards mistakenly finding that actual
        prices are close to or above the alleged applicable target prices.8 Dr. Netz also does not
        contest my finding that, even ignoring the inherent bias in her comparison, the majority



8
 Willig Report, ¶ 103-104. As I explain in my report, her analysis is biased because, as Dr. Netz
acknowledges (Netz Initial Report, p. 63), she is often comparing a target price for more basic CRT
models in a group of CRTs with the average actual price for that group.



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of CRT sales were priced below the alleged applicable target price. Since I filed my
report, Dr. Netz has identified additional alleged target prices, and I still find that – even
with the inherent bias in her comparison – more than half of Defendant’s CRT sales were
priced below the alleged target price. Even assuming that all target prices were above the
competitive level, it does not follow that an actual price that was below the alleged target
price must have been above the but-for price. Dr. Netz has not estimated but-for prices,
and she presents no methodology that reliably could be used to assess which, if any, of
the actual prices that were below the alleged target prices were nevertheless above the
corresponding but-for prices. Instead, she offers fragments of evidence that at most
attempt to indicate that the alleged cartel was effective at elevating prices for some
products or during some time periods, but this would not constitute proof of classwide
impact. As a result, her assertion that all CRT prices were elevated above the
competitive level amounts to an unsupported assumption rendering her entire actual and
alleged target price analysis unreliable.

11.    Dr. Netz’s opinion that a “price structure” existed for CRTs is essentially a claim
that the relative prices of different types of CRTs would be about the same in the but-for
world as in the actual world. Put differently, she is claiming that the cartel increased
prices for all CRT products by about the same percentage. However, this claim is
baseless. The central piece of evidence that Dr. Netz puts forth to support her claim that
such a price structure exists is a set of hedonic regressions. However, those hedonic
regressions only use actual and target price data from the claimed cartel period. As such,
they are fundamentally incapable of telling us anything about the prices that would have
existed but-for the putative cartel and, therefore, they fundamentally cannot provide any
basis for Dr. Netz’s price structure claim.

12.    The only other evidence offered by Dr. Netz is a set of documents that she claims
demonstrates that the alleged cartel set differentials in the target CRT prices. Even if Dr.
Netz were correct that the alleged cartel set target price differentials between different
categories of CRTs, it would at most establish that the cartel hoped to achieve certain
relative prices between pairs of CRT categories in the actual world. It would not provide
any evidence whatsoever that the relative prices between CRT categories in the but-for
world would have been the same as the allegedly targeted relative prices in the actual

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          world – even if those target prices were uniformly adhered to by the alleged cartel
          members. As a result, Dr. Netz’s approach is fundamentally incapable of establishing the
          existence of a price structure of the kind that she defines and relies upon.

          13.     The above itself is sufficient to prove that Dr. Netz’s proposed methodology is
          unreliable because, without any basis, her conclusions become strictly assumptions. And,
          from an economic perspective, it is inappropriate to claim that a common approach is
          valid based on an unsupported assumption.

          14.     In fact, there is evidence indicating that Dr. Netz’s assumed price structure does
          not exist, evidence that Dr. Netz herself acknowledges. A “price structure” of the sort
          claimed by Dr. Netz cannot exist if prices in different segments of CRTs were affected by
          materially different market forces such that the ability and incentive of the alleged cartel
          to affect CRT prices differed across CRT segments. For example, if the alleged cartel
          substantially elevated the prices of some CRTs but failed to elevate prices of other CRTs
          (or elevated them less) because the latter had better substitutes and faced greater
          competition from alternative technologies, then relative prices in the actual and but-for
          worlds would be quite different – precisely the opposite of what Dr. Netz’s price
          structure would require. This is, in fact, exactly the situation surrounding the competition
          between CRTs and flat screens (LCD and plasma). As I explain in my report,


                                                                                As such, the alleged
          cartel’s ability to elevate prices was not uniform across those segments. Dr. Netz does
          not contest this possibility, nor does she contest


                               It thus follows as a matter of basic economic logic and common
          sense that Dr. Netz’s purported price structure could not exist.

          15.     Turning next to Dr. Netz’s claim that pass-through rates were uniformly positive
          across all CRT finished products, Dr. Netz’s methodology is unreliable because it



9
    Willig Report, ¶¶ 56-63.



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calculates only the average pass-through rate for all TVs or monitors at each finished
product manufacturer or reseller in the distribution chain – averaged across time periods,
products, and transactions. Dr. Netz provides no empirical support for a claim that pass-
through rates were uniformly positive across these myriad dimensions. Indeed, she
provides no explanation of how her methodology could be used to assess pass-through
rates for individual TV or monitor products or segments of TVs or monitors sold by a re-
seller or manufacturer, for different time periods, or any other disaggregated dimension.
In fact, she makes no claim that her approach could be employed in any disaggregated
manner, and instead she just proposes that her approach be used to estimate pass-through
rates at highly aggregated levels (e.g., all TVs sold by a retailer over all time periods).
Given that Dr. Netz does not contest that various segments of the CRT and CRT finished
product marketplace were subject to differentiated market forces, uniformly positive
pass-through rates cannot be reliably assumed.

16.    Having failed to provide any empirical evidence that pass-through rates were
uniformly positive for all products, transactions and time periods, Dr. Netz relies entirely
and mistakenly on economic theory to conclude that pass-through rates were uniformly
positive. However, she greatly over-simplifies the relevant economic theory and assumes
rather than establishes that the conditions necessary to apply the theory are satisfied in the
CRT marketplace. In particular, Dr. Netz’s claim that pass-through rates would be
uniformly positive because the alleged cartel was able to achieve an across-the-board,
significant, and permanent increase in CRT prices is inconsistent with record evidence
showing that the alleged cartel was not uniformly or consistently effective (if at all) in
elevating CRT prices. For example, competition from flat screen technologies likely
constrained the ability of the putative cartel to elevate prices of some CRTs during certain
periods. Moreover, as I have explained above and in my report, vertically integrated
firms that manufactured CRTs and also finished products had the ability and incentive to
deviate from alleged cartel prices, and I have provided evidence that the putative cartel
was especially ineffective in elevating transfer prices of CRTs. Thus, the evidence
indicates that not all CRTs’ prices were elevated significantly and permanently by the
actions of the alleged cartel as Dr. Netz claims. Indeed, since Dr. Netz has not estimated
but-for prices, none of her analyses is capable of establishing that the putative cartel


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          succeeded in elevating CRT prices significantly, and Dr. Netz acknowledged in her
          deposition that she has not established that all putative CRT price increases by the alleged
          cartel were significant.

          17.      Thus, in effect, Dr. Netz makes the unsupported assumption that pass-through
          rates were uniformly positive, i.e., she assumes that there was universal pass-through by
          retailers and manufacturers.

          18.      As is also the case with the other two claims on which Dr. Netz’s opinion is
          based, the evidence indicates that her fundamental assumption of uniformly positive pass-
          through is incorrect. As I show in my report, the evidence indicates that pass-through
          rates were heterogeneous across multiple dimensions and that many of them were not
          positive – indicating the absence of pass-through due to market conditions.10 (Dr. Netz’s
          criticism of the pass-through analyses I used to demonstrate the unreliability of her
          aggregated pass-through estimates is unfounded, as I discuss below.)

          19.      In sum, Dr. Netz has failed to provide any valid support in her declaration for any
          of the three claims that underlie her proposed generalized approach for establishing
          classwide impact, which renders her approach essentially a series of inappropriately
          applied methodologies and unsupported assumptions leading to unreliable conclusions.
          From an economic perspective, that itself is a fatal flaw. But, compounding the failure,
          the evidence indicates that Dr. Netz’s assumptions are not just unsupported – they are
          simply wrong.

          20.      The remainder of this declaration provides further details on the above findings
          and conclusions.




10
     See, e.g., Willig Report, ¶¶ 123-125, 134-137.



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III.       The Methodologies Used by Dr. Netz to Establish Common Impact on
           Direct Purchasers Are Unreliable and Based on Unsupported
           Assumptions.
           21.        Dr. Netz claims that common methods and evidence can be used to reliably
           establish that the alleged CRT price-fixing conspiracy impacted all members of the
           proposed IPP class. With regard to alleged overcharges paid by direct purchasers, Dr.
           Netz’s underlying assertion rests on two claims:

                 a)      The first claim is Dr. Netz’s contention that the Defendants actually did set
                         CRT sales prices that matched “target prices” established by the alleged cartel.
                 b)      The second is Dr. Netz’s claim that prices of CRTs exhibited a “price
                         structure” that in her view implies that relative prices would have been the
                         same in the actual and but-for world, which is equivalent to saying that the
                         alleged cartel was successful in elevating prices of all CRTs by about the
                         same percentage amount.

      A. Dr. Netz’s Assumptions and Methodologies Used to Claim Uniform, Effective, and
         Sustained Collusion

           22.        Dr. Netz contends that her analysis comparing target CRT prices identified by her
           with actual CRT prices shows that the alleged cartel was effective in elevating CRT
           prices. For example, in her declaration, she states that “[w]hat I do conclude from the
           target price analysis is the effectiveness of the cartel in fixing prices.”11 However, in my
           report, I explain why Dr. Netz’s target vs. actual price comparisons do not support her
           opinion that the putative cartel was consistently effective in elevating CRT prices, and
           that, in fact, her own data contradict her. In her declaration, Dr. Netz does not contest my
           analysis that her approach is fundamentally biased. I expand on this topic and related
           issues in this section.




11
     Netz Declaration, p. 11. In her rebuttal report, Dr. Netz claim




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           Dr. Netz Does Not Contest That Her Comparison of Actual and Target Prices is
           Fundamentally Biased. This Bias and Other Flaws Make Dr. Netz’s Target Price
           Methodology Unreliable.

           23.     I explain in my report that Dr. Netz’s comparisons of actual and target price
           levels at a given point in time are fundamentally flawed. Dr. Netz does not contest or
           address most of my criticisms of her comparison between actual and target price levels.
           In particular, Dr. Netz does not contest my opinion that her comparison of actual and
           target prices “is biased in the sense that her test would tend mistakenly to indicate that
           actual sales prices were at or above target prices regardless of whether manufacturers set
           their actual prices below target prices.”12 This bias almost surely causes her to overstate
           the share of the Defendants’ CRT sales for which actual prices were above the alleged
           target price and to understate the magnitude by which actual CRT prices were below the
           alleged target prices.

           24.     Dr. Netz also does not contest my point that she presents actual-to-target price
           comparisons that are either averaged across all CRT products sold in a given month or
           aggregated across the entire class period, and that as a result, her analysis masks
           considerable differences between the actual and target prices for individual CRT models
           as well as variations over time.13 Dr. Netz’s new comparisons between actual and target
           prices are presented in an identical fashion and therefore suffer from the same flaw.14

           25.     Lastly, Dr. Netz does not contest my finding that comparisons between the actual
           price for a given CRT (defined in terms of a model, customer, and month) and the
           putative target price that Dr. Netz alleges is applicable to that CRT reveal tha
                                                                                              Dr. Netz



12
  Willig Report, ¶ 103. As explained in my report, her analysis is biased because, as Dr. Netz
acknowledges (Netz Initial Report, p. 63), she is often comparing a target price for more basic CRT
models in a product group with the average actual price for that product group (Willig Report, ¶ 104).
13
     Willig Report, ¶ 106 (referencing Netz Initial Report, Exhibits 14-17).
14
     Netz Rebuttal Report, Exhibits RR-15, 26, and 27.
15
     Willig Report, ¶¶ 107-108 and Exhibit 18.



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          has since identified additional alleged target prices in her rebuttal report. I have updated
          my comparisons of actual and target prices using her updated alleged target price data
          and find that




          26.      The aforementioned flaws in Dr. Netz’s methodology, which Dr. Netz does not
          contest, are by themselves sufficient to render Dr. Netz’s target price analysis unreliable
          for the purposes of establishing her conclusion regarding “the effectiveness of the cartel
          in fixing prices.”17 Nevertheless, below I address Dr. Netz’s responses to the finding of
          additional flaws in her target price analysis.

          Dr. Netz’s Target Price Dataset Has Significant Shortcomings.

          27.      As a robustness check on my comparison of actual and target prices, I considered
          whether the substantiality of the share of actual prices that fell below the allegedly
          applicable target price could result from Dr. Netz being unable to identify precisely the
          target price applicable to a given model in a particular month. Although Dr. Netz does
          not contest my finding that the majority of CRT sales were priced below the allegedly
          applicable target prices, she does criticize this one robustness check. As explained
          below, Dr. Netz’s criticism is misplaced since the issues she raises stem from limitations
          in target price data she compiled and her averaging of those data.




17
     Netz Declaration, p. 11.



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        28.     Dr. Netz often identifies more than one alleged target price that might have
        applied to a given CRT sale. Because she does not know which alleged target price (if
        any) actually applied to the given sale, Dr. Netz averages the potentially applicable target
        prices together and compares the average to the actual price. Thus, as a robustness check
        on my (uncontested) finding that the majority of actual CRT prices were below the
        average of the alleged applicable target prices identified by Dr. Netz, I considered
        whether actual CRT prices were at least close to any of the potentially applicable target
        prices. As I describe in my report,




        29.     Dr. Netz criticizes my analysis because


                                  . Netz proceeds to highlight some examples in which the range


18
  Willig Report, ¶ 110 and Exhibit 19. I have updated my analysis to include any additional alleged
target prices that Dr. Netz has identified since I filed my report.


19
  This analysis is conservative because, as Dr. Netz acknowledges, “target prices are generally for basic
models” (Netz Initial Report, p. 63), whereas actual prices include prices for premium CRTs, which likely
causes my analysis to understate the share of CRT sales volume priced below the minimum potentially
applicable target price.
20
   One potential explanation for actual prices that were well above the highest potentially applicable
alleged target price is that, as discussed later, unexpected changes in market conditions following the
alleged setting of a target price could have resulted in the competitive price being higher than the alleged
target price. If that occurred, the Defendants would have had an economic incentive to adjust their prices
upward, at least to the competitive level. However, if Defendants did not increase their prices beyond the
competitive level, the alleged cartel would have had no impact on CRT customers for those sales.




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           consisted of a single alleged target price and asserts that the cartel likely agreed upon
           other potentially applicable target prices, which, if observed, would have resulted in a
           larger range of potentially applicable target prices to which actual prices could have been
           compared.22 However, Dr. Netz appears to have misunderstood the objective of my
           analysis. It was not my intention to speculate about the possible existence of unobserved
           target prices that could reconcile the frequent disparities between actual prices and the
           target prices identified by Dr. Netz with Dr. Netz’s unsupported allegation that “prices
           paid by [CRT customers] were approximately equal to the cartel’s target prices.”23
           Rather, my objective was to assess whether it is plausible that Defendants uniformly
           adhered to the alleged target prices that Dr. Netz actually identified. Put differently, my
           analysis shows that Dr. Netz has provided no evidence that the substantial share of actual
           prices that were significantly below the lowest potentially applicable alleged target price
           were consistent with adherence to the alleged agreement to price at supracompetitive
           levels. Dr. Netz’s criticism of my analysis therefore amounts to a claim that the cartel
           may have adhered to such an agreement even though it cannot be reliably demonstrated
           using the data she has collected.

           30.     I also wish to address the examples that Dr. Netz presents in her rebuttal report of




22
     Netz Rebuttal Report, pp. 34-35.
23
     Netz Initial Report, p. 33.
24
     Netz Rebuttal Report, pp. 35.



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          32.     As noted above, this extension is based on actual and target prices that Dr. Netz
          matched based on manufacturer, application, finish, size, and shape. This list includes all
          of the attributes that Dr. Netz describes as major price differentiators.27 If Dr. Netz’s
          assertion is correct,




26
  These figures include any additional alleged target prices that Dr. Netz has identified since I filed my
report.
27
     Netz Rebuttal Report, pp. 12-13.



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          other attributes, which Dr. Netz describes as “minor price differentiators.”28 That is,




          Dr. Netz’s Own Target Price Data Show Little or No Connection between Changes in
          Target CRT Prices and Changes in Actual CRT Prices.

          33.     In my report, I present an econometric analysis showing that




          34.     In her rebuttal report, Dr. Netz criticizes my analysis in three ways.




30
     Willig Report, ¶¶ 92-101.



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                                                                          For reasons I explain
          below, Dr. Netz’s criticisms are without merit and, in fact, her arguments further
          undermine her own methodologies for establishing that the alleged cartel was highly
          effective in elevating CRT prices.

          Dr. Netz’s Explanation for Why Target Price Changes Need Not Predict Actual Price
          Changes Undermines Her Methodologies Used to Attempt to Establish that the Alleged
          Cartel Had Classwide Impact.

          35.




31
     Netz Rebuttal Report, p. 36.
32
     Netz Rebuttal Report, p. 36.



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          36.      Additionally, if market conditions were substantially variable and unpredictable
          and target prices were not adjusted frequently enough to respond to such changes – as Dr.
          Netz implies in the above quote – it would have been difficult for the alleged cartel
          members to effectively detect and punish cheating on the alleged agreement. For
          example, it would be difficult for cartel members to know when it would be viewed as
          acceptable to deviate from the target price as a result of changing market conditions and
          when such conduct would or should be punished.

          37.      Thus, the fact that unexpected changes in market conditions could override the
          alleged cartel’s efforts to enforce target prices, which Dr. Netz acknowledges,
          undermines Dr. Netz’s opinion


          38.      Dr. Netz mistakenly claims that I should have controlled for these changes in
          market conditions in my econometric analysis of changes in actual prices and alleged
          target prices.




33
  Although this scenario contemplated the impact of unexpected changes in market conditions for a
specific CRT, the same logic applies to unexpected changes in market conditions that could have caused
the but-for price to be higher than the target price for some CRT segments and not others, or in some
regions and not others.
34
     Netz Rebuttal Report, p. 37.



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          Dr. Netz’s criticism is without merit and flies in the face of basic economics. As an
          initial matter, Dr. Netz is just mistaken when she says that my model
                                                                       On the contrary, my model just
          measures the extent to which changes in actual CRT prices can be predicted by changes
          in the allegedly applicable target prices, and finds that changes in the alleged target prices
          do not predict changes in actual CRT prices well at all.35

          39.     Moreover, as I explained in my report, the fact that I did not “[control] for the
          effect of market forces on sales prices,” causes my model to be a conservative test of
          cartel effectiveness because the model attributes any co-movement between actual and
          alleged target prices to adherence by the alleged cartel when the co-movement may
          instead have been caused by changes in market forces that had a common impact on
          actual and target prices.36 Put differently, because market forces are likely to have the
          same directional effect on actual and target prices – e.g., a decline in demand for CRTs is
          likely to result in lower actual and target prices – controlling for changes in market
          conditions is likely to lower the estimated ability of alleged target price changes to
          predict actual price changes.

          40.     Nevertheless, to further confirm the conservatism of my original model, I re-
          estimate my regression with




35
     Willig Report, ¶¶ 92-93.
36
   Willig Report, ¶ 93 (“Moreover, even this slight correlation does not imply causation (i.e., the change
in actual price may not be due to the change in target price) since actual and target price changes are both
likely to have been affected in the same direction by common market factors, generating some positive
correlation between the two series,




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 41.    Thus, consistent with economic theory, the empirical evidence shows that
 controlling for changes in CRT market conditions leads to the conclusion that changes in
 the alleged target prices predict changes in actual CRT prices even more poorly than
 when these market conditions are ignored.

 My Target Price Compliance Analysis Was Based on a Proper Measure of Actual Price
 Changes.

 42.    The results of my regression analysis comparing actual and target price changes to
 assess whether the alleged cartel was uniformly effective (if at all) in elevating prices
 supports the conclusion that Dr. Netz’s methodologies for assessing the cartel’s
 effectiveness are unreliable. Dr. Netz mistakenly criticizes my reliance on changes in
 actual U.S. dollar prices in my regressions.




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          43.      However, adherence to target prices is most logically measured using U.S.
          dollars. This conclusion follows naturally from Dr. Netz’s allegation that the alleged
          cartel was orchestrated through the use of target prices that were denominated in U.S.
          dollars.41 In fact, she assumes that there was only a single global target price (expressed
          in U.S. dollars) for any given product (or set of products) at a particular point in time –
          not different target prices depending on the region of sale or the currency in which a
          particular price was negotiated. If there was only a single U.S. dollar-denominated
          (“USD”) target price for any given product (or set of products) at a point in time, then
          economic logic implies that in order for the alleged cartel to be effective, cartel members
          would be expected to adjust their negotiated prices (i.e., prices expressed in the currency
          in which they were negotiated) in order to maintain adherence to the alleged USD target
          price, thus offsetting any exchange rate movements.

          44.      To see why, consider the following example.




40
     Netz Rebuttal Report, p. 38.
41
     Netz Rebuttal Report, fn. 55.



                                                                                     (footnote continued …)


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           45.       The above example illustrates why the alleged cartel members would have had an
           economic incentive to adjust their negotiated prices even when those prices were
           denominated in a currency other than U.S. dollars to offset exchange rate movements in
           order to maintain cartel stability.44




                                                        Because cartel members would be expected to
           adhere to the USD target prices, if cartel members closely adhered to the putative target
           prices, then changes in USD target prices should reliably predict changes in USD actual
           prices.




(… footnote continued)




44
     Dr. Netz does not offer any opinion to the contrary.
45
     Netz Initial Report, fn. 181-183.



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46
  Specifically, I include the change in the exchange rate between the currency prices were negotiated in
and the U.S. dollar and also interactions between this variable and a series of indicator variables that
correspond to each of the currencies in which CRT actual prices represented in the Defendants’ CRT sales
data were negotiated.




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          If Dr. Netz is correct that size and shape are the only major price differentiators, then the
          fact that the average target prices she compiles by product group may be comprised of
          target prices for different sets of “minor” characteristics from one period to the next
          should not significantly distort the calculation of target price changes in the version of my
          analysis in which actual and target prices could be matched based on attributes that
          include size and shape. That is, if size and shape are the only characteristics that have a
          material influence on CRT prices, then a failure of changes in target prices to explain
          changes in actual prices once size and shape are taken into account cannot be attributable


49
     Netz Rebuttal Report, p. 37.
50
     As noted in footnote 82, althoug

51
     Netz Rebuttal Report, p. 12.
52
  Netz Rebuttal Report, p. 12. Dr. Netz also refers to application, size, and shape as the only “meaningful
price differentiators.” Id., p. 13.



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        to the gaps in the target price data Dr. Netz compiled. It can only be due to the alleged
        conspiracy being far from uniformly effective.




                                                                                  .55




53
  Willig Report, fn. 94. The programs for recreating this analysis were produced to Plaintiffs along with
the backup to the other analyses in my report.




55
   Conversely, if other product attributes besides size and shape – such as resolution, frequency, safety
standards, mask type, neck diameter, and shipping terms – represent significant price differentiators,
either individually or in combination, then, by minimizing the importance of these other attributes, Dr.
Netz dramatically understates the extent of CRT product differentiation. Moreover, if these other
attributes are significant price differentiators, Dr. Netz also would have failed to explain how the alleged
cartel effectively coordinated on prices despite the fact that target prices were rarely differentiated along
these other product dimensions. Even if one were to posit that the cartel members reached some sort of
understanding regarding pricing along these other important product dimensions that was not reflected in
the meeting minutes cited by Dr. Netz, Dr. Netz has not presented any methodology that could be used to
assess whether the cartel adhered to pricing agreements not reflected in the target prices that she
identified. As such, there would be no basis for concluding that classwide impact could be demonstrated
through common proof.



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           The Relationship between Actual and Target Price Changes Was Weaker for Transfer
           Sales than Merchant Sales.

           52.     In my report, I cite to what Dr. Netz refers to as “a widely used Industrial
           Organization economics textbook”56 for the proposition that economists have identified
           the presence of varying degrees of vertical integration in an industry as a contributor to
           cartel instability.57 Dr. Netz does not agree with this proposition and argues that
           cartelization is possible even in the presence of vertical integration.58 However, what is
           relevant in the present context is whether the varying degrees of vertical integration in the
           CRT industry affect the likelihood that classwide impact could be demonstrated through
           common proof. Unlike Dr. Netz, in my report, I examine data related to this issue and
           show that changes in prices between vertically affiliated entities (“transfer prices”)
           exhibited an even weaker relationship with target price changes than did changes in
           prices between vertically unaffiliated entities (“merchant prices”).

           53.     Specifically, I examined whether there was any difference between (a) the ability
           of target price changes to predict changes in transfer prices, and (b) the ability of target
           price changes to predict changes in merchant prices




                          As I note in my report, this finding “supports the hypothesis that the alleged



56
     Netz Initial Report, p. 43 and fn. 151.
57
     Willig Report, ¶¶ 85-86, fn. 82.
58
     Netz Rebuttal Report, pp. 25-26.
59
  Willig Report, ¶¶ 97-100. I have incorporated into my analysis the additional alleged target prices
identified by Dr. Netz since I filed my report




                                                                                       (footnote continued …)


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          target price-setting process was even less effective in the context of sales to downstream
          affiliates than in the context of sales to unaffiliated finished product manufacturers.”60

          54.      Dr. Netz concedes that she has not performed any specific comparisons of
          merchant and transfer prices.61 Dr. Netz also does not contest my finding that the
          changes in the alleged target prices are an even worse predictor of changes in transfer
          prices than changes in merchant prices. She does assert that the manner in which I
          calculated actual price changes and target price changes introduces spurious variation
          into both series. For the reasons described above, these assertions are without merit.
          However, even if one were to accept her assertion that some spurious variation was
          introduced into the actual and target prices, it would imply only that I understated the
          ability of target price changes to predict actual price changes, but it would not explain my
          finding that target price changes are demonstrably worse predictors of actual transfer
          price changes than of actual merchant price changes.

          55.      As discussed in my report,




                             her rebuttal report, Dr. Netz responds,




(… footnote continued)


these regressions and find that the R-squared and estimated coefficient on the change in the alleged target
price are substantially lower when I implement the model for transfer CRT sales. Id.
60
     Willig Report, ¶ 100.
61
  Netz Deposition Vol. 2, pp. 375-376 (Q. Okay. And have you examined -- have you done any separate
analysis of transfers of CRTs to affiliated finished goods manufacturers to see if the pricing was any
different than it was for sales to other affiliated companies? Have you done any comparisons like that of
prices? A. Not specifically comparisons as we discussed in my first deposition.)
62
     Willig Report, ¶ 97.



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                  “The vertically integrated firm has no incentive to ‘cheat’ on the cartel
                  agreement by setting a low transfer price because the process is analogous
                  to an individual moving money from one pocket to another pocket.”63
          56.     However, by the same logic, the vertically integrated firm has no incentive to
          elevate the price that the CRT manufacturer charges an affiliated finished product
          manufacturer in the first place. Dr. Netz appears to agree and states that

                  “[O]ther cartel members have no incentive to monitor the internal transfer
                  prices of a vertically integrated firm.”64
          However, if transfer prices are not particularly important to the alleged cartel members,
          then the only way they could try to ensure vertically integrated CRT manufacturers
          adhered to the alleged agreement would be to monitor the affiliated downstream finished
          product manufacturers’ prices to ensure that they remained above an agreed upon
          benchmark. However, I understand that Plaintiffs are not alleging a conspiracy to elevate
          finished product prices, and I am not aware of any evidence indicating that the alleged
          cartel either agreed to or attempted to enforce an agreement on finished product prices.
          Similarly, I am not aware of – and Dr. Netz does not present – any evidence indicating




                                        . As a result, the evidence indicates that the alleged cartel
          would not have had the same impact on transfer CRT prices as merchant CRT prices.
          Moreover, Dr. Netz provides no evidence or even a coherent explanation of her implicit
          assumption that evidence that the cartel elevated prices for merchant CRT sales would
          necessarily imply that it also elevated prices for transfer CRT sales.




63
     Netz Rebuttal Report, pp. 26-27.
64
  Netz Rebuttal Report, p. 27. Dr. Netz also states that when a CRT manufacturer sells a CRT to an
affiliated finished products manufacturer, “there is no economically meaningful sale.” Id., p. 26. See, also,
Netz Deposition Vol. 2, p. 375.



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          Dr. Netz’s New Comparisons of Actual Prices of CRTs Manufactured or Sold in North
          America to the Alleged Target Prices Do Not Remedy the Unreliability of Her
          Methodologies for Assessing Whether the Alleged Cartel Elevated Price for Any or All
          CRTs Sold in North America.

          57.      In her initial report, Dr. Netz performed no analysis to establish that target CRT
          prices




          58.      In her declaration, Dr. Netz contends that the target CRT prices she identified
          applied to North America.




          59.      However, the results of Dr. Netz’s comparison have no bearing on the reliability
          of her methodology for assessing whether the cartel elevated prices for CRTs sold in
          North America because the “results” could just as easily be attributable to the undisputed
          bias in her actual-to-target price comparisons. As noted above, Dr. Netz does not contest


65
     Willig Report, ¶¶ 65-66.
66
   In her rebuttal report, Dr. Netz acknowledges that CRTs were constrained geographically, i.e., the same
CRT could not be used in any and all regions of the world because of factors such as differences in
broadcast standards across countries, differences in shielding, and differences in the Earth’s magnetic
field. (Netz Rebuttal Report, pp. 52-53.)
67
     Netz Declaration, p. 12.



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          my opinion that




          60.      The most direct test of differentiated price dynamics consists of comparing
          changes over time in CRT prices in North America with changes in CRT prices in other
          regions. If changes in North American CRT prices were not highly correlated with
          changes in CRT prices in other regions such that when CRT prices increased in North
          America, CRT prices elsewhere frequently decreased, then that is strong evidence that
          market forces in North America were differentiated from the rest of the world.

          61.      In my report, I provide such a test and


                                    n her rebuttal report, Dr. Netz claims that this analysis is flawed
          because it measures CPT prices in U.S. dollars, and it is thus affected by fluctuations in
          exchange rates.70 For reasons I explain in paragraphs 84 to 87 below, the heterogeneity in
          CRT price changes is appropriately analyzed using U.S. dollars. Nonetheless, to further
          confirm my results, I also examined the extent of divergence in CPT price movements in
          North America and the rest of the world when those prices are expressed in the currency
          in which they were negotiated.




68
     See ¶ 23 above and also Willig Report, ¶¶ 103-104.
69
     Willig Report, Exhibit 9.
70
     Netz Rebuttal Report, p. 54.



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           Dr. Netz’s Failure to Perform any Analysis of But-For Prices, at a Minimum, Leaves
           Open the Possibility that a Substantial Number of Class Members Were Not Injured.

           62.     I previously concluded that, because Dr. Netz has not estimated any but-for (i.e.,
           competitive) prices, she has not provided any information that would allow a fact-finder
           to determine which, if any, CRT sales were priced above the competitive level and thus
           has not demonstrated that the alleged cartel’s conduct resulted in classwide impact.72
           Because she has not estimated but-for prices, her analysis is incapable of ruling out the
           possibility that some CRT prices were elevated above the competitive level, while others
           were not.

           63.     Dr. Netz responds that it is not necessary to estimate a but-for price to determine
           whether the cartel had common impact. In particular, she asserts in her declaration that
           “[j]ust as it is possible to infer whether one car is going faster than another car without
           knowing the precise speed of either car, evaluation of whether the but-for price is likely
           to have been lower than the actual price does not require providing a measurement of the
           but-for price.”73 However, Dr. Netz’s analogy makes no sense in the present context;
           neither the economist nor the fact-finder can observe the “other car,” which in this case is
           the but-for price.

           64.     Inapt analogies aside, Dr. Netz has not demonstrated that all (or even most) CRT
           prices were above the corresponding but-for prices, nor has she demonstrated that such a
           showing would be possible using common (or even individualized) evidence (as I explain




71
     See Exhibit 9-R.
72
     Willig Report, ¶109.
73
     Netz Declaration, p. 14. See also, Netz Rebuttal Report, p. 57.



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          in my report74). She presents no empirical analysis that would even be capable of
          supporting such a claim. The most seemingly germane analysis she presents is her
          comparison of actual and target prices. However, this comparison fails to demonstrate
          that actual prices were above the competitive level for the three reasons documented at
          length above: (i) she has not established that the preponderance of alleged target prices
          were above the corresponding but-for prices;75 (ii) she does not contest my finding that
          her comparison of actual and alleged target prices is biased towards mistakenly finding
          that actual prices were above the allegedly applicable target prices; and (iii)


                                                                           As a result, her comparison
          of actual prices and alleged target prices is incapable of demonstrating that any, much
          less most or all, actual CRT prices were above the corresponding but-for prices.76

          65.     The other evidence and arguments that Dr. Netz presents to support her claim that
          “CRT prices would therefore have been lower in the but-for world than they were in the
          actual world” also fail to demonstrate that classwide impact could be demonstrated with
          common proof. For example, Dr. Netz states that, because participating in an illicit cartel
          entails taking on risks, rational cartel members would not have participated in the alleged
          cartel for as long as they allegedly did unless they were successful in elevating the price
          of CRTs. However, at best, this rationale implies that the alleged cartel was effective at
          elevating prices for some products or during some time periods. In fact, Dr. Netz
          conceded at her deposition that it could be rational for firms to participate in a cartel even
          if the cartel were only effective at increasing prices for some product sizes, in some



74
     Willig Report, ¶¶145-160




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          regions, or for some customers.77




                                                                                               As a
          result, this putative evidence is incapable of serving as a common basis from which to
          establish that the alleged cartel elevated all (or most) CRT prices above the competitive
          level.

          66.      In sum, Dr. Netz has not estimated but-for prices, and she presents no
          methodology that reliably could be used to assess which, if any, of the actual prices that
          were below the alleged target prices were nevertheless above the corresponding but-for
          prices. Instead, she offers fragments of evidence that at most indicate that the alleged
          cartel was effective at elevating prices for some products or during some time periods, but
          provide no basis to infer classwide impact. As a result, her assertion that all CRT prices
          were elevated above the competitive level amounts to an unsupported assumption.

      B. Dr. Netz’s Assumptions and Methodologies to Claim a “Price Structure” in CRT
         and CRT Finished Product Markets

          Dr. Netz Has Failed to Provide Even Rudimentary Evidence to Establish That a “Price
          Structure” Exists.

          67.      In her declaration, Dr. Netz claims that she “… applied textbook economic logic
          to the record evidence to show that the cartel had the incentive to cause all prices to be
          supracompetitive, that a market mechanism provided the means for the cartel to cause
          impact to the entire price structure without setting target prices for all CRTs, and that the
          cartel meeting notes indicate Defendants explicitly created structure in its target prices by
          setting price differentials.”78




77
     Deposition of Janet S. Netz, November 15, 2012 (“Netz Deposition Vol. 1”), pp. 153-154.
78
     Netz Declaration, p. 14.



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          68.     Dr. Netz defines a “price structure” such that it implies that the relative prices
          across CRTs would be approximately the same in the actual and but-for worlds at a given
          point in time.79 In other words, the existence of a price structure implies that if the
          average price of CRT A is twice the average price of CRT B in the actual world in a
          given month, then the average price of CRT A would also have been about twice the
          price of CRT B in the but- for world in the same month (although both CRTs allegedly
          would have been priced lower in the but-for world than in the actual world). According
          to Dr. Netz, one implication of the alleged existence of a price structure is that, if the
          cartel successfully elevated the price of CRT A, then CRT B’s price must have been
          elevated by approximately the same percentage even if the cartel did not explicitly target
          the price of CRT B. In effect, Dr. Netz’s concept of a price structure implies that the
          alleged cartel had about the same impact on all CRTs, i.e., prices of all CRTs were
          elevated by approximately the same percentage.

          69.     As noted in my report, Dr. Netz's concept of a “price structure” is not a standard
          concept found in the economics literature, and the establishment of a “price structure,”
          however defined, as evidence that a class should be certified is not an approach generally
          accepted by economists.80 Indeed, Dr. Netz admitted at her deposition that she is unaware
          of any peer-reviewed article that uses the term “price structure” in the context of an
          unregulated industry (i.e., an industry in which prices/fares are not determined by an
          external government authority).81

          70.     Nonetheless, the purported existence of a “price structure” is clearly central to her
          opinion that the alleged cartel had a classwide impact. That is, although Dr. Netz readily




79
   Netz Rebuttal Report, p. 39. (“The relative prices that are reflected in the price structure are
substantially the same in the actual world as in the but-for world. Relative prices are ratios of prices at a
point in time; if both prices change by the same percentage, the relative price is unchanged.”)
80
  See, e.g., Johnson, J. H., & Leonard, G. K. (2008). In the Eye of the Beholder: Price Structure as Junk
Science in Antitrust Class Certification Proceedings. Antitrust, volume 22 (no 3). pp. 108-112.
81
     Netz Deposition Vol. 2, pp. 386-389.



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 acknowledges that she is able to identify target prices for only a fraction of CRT sales,82
 she claims that prices of all CRTs – including CRTs not mentioned in the documents Dr.




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           Netz relies on to identify target CRT prices allegedly set by Defendants – were elevated
           because the alleged “price structure” links prices of all (or nearly all) CRTs.83

           71.     The primary evidence that Dr. Netz provides in her initial and rebuttal reports for
           the existence of such a “price structure” is a set of hedonic price regressions. In her
           declaration, Dr. Netz claims that “Defendants wrongly criticize me for using a hedonic
           regression analysis instead of a correlation analysis to evaluate the price data in forming
           my conclusion. This is misguided. … In my expert judgment, I determined that the
           hedonic regression analysis was the most appropriate method given the question of
           interest and data available.”84

           72.     Simply put, these hedonic regressions purport to show that sales prices (in the
           actual world) of most CRTs can be reliably predicted by a small set of product features
           (size, aspect ratio, and finish),85 a time trend and the identities of customers and sellers.
           From this claimed fact, Dr. Netz concludes that there exists a price structure.86 The only
           other evidence Dr. Netz offers in support of a price structure is a set of documents that
           she uses




           73.     The fundamental flaw in Dr. Netz’s argument is that even if she were correct in
           her view that her sales price hedonic regressions show that a small set of product features,

83
     Netz Initial Report, p.71.
84
     Netz Declaration, p. 14. See also Netz Initial Report, p.66-71.
85
   “Finish” refers to whether or not the CRT contains a deflection yoke when it is sold to a customer. A
“bare” CRT is one that does not contain the deflection yoke and an “ITC” CRT is one that does contain
the yoke.
86
     Netz Initial Report, p.71; Netz Rebuttal Report, pp. 42-43.
87
     Netz Rebuttal Report, p. 42.
88
     Netz Initial Report, pp. 68-9



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          a time trend, and the identities of customers and sellers explain most of the variation in
          CRT sales prices, it would not establish the “price structure” of the sort claimed by Dr.
          Netz. All that her sales price hedonic regressions would establish is that the relative price
          of CRT A to CRT B was likely similar to the relative price of CRT A to CRT C in the
          actual world if CRT B and CRT C had similar characteristics. It would provide no
          indication whatsoever that the relative sales price of CRT A to CRT B or CRT A to CRT
          C would be the same in the but-for world as in the actual world, which is what Dr. Netz
          would need to show to establish her claim that “[t]he relative prices that are reflected in
          the price structure are substantially the same in the actual world as in the but-for world.”89

          74.




                   However, Dr. Netz has not done anything to show that relative but-for prices are
          in any way similar to actual relative prices. As such, Dr. Netz’s sales price hedonic
          analysis provides no support for her claim that there was a price structure for CRTs, i.e.,
          that relative prices would have been the same in the but-for world as in the actual world.

          75.      Similarly, even if Dr. Netz were correct that the alleged cartel set target price
          differentials between different categories of CRTs, that would at most establish that the
          cartel hoped to achieve certain relative prices between pairs of CRT categories in the
          actual world. It would not provide any evidence whatsoever that the relative prices


89
     Netz Rebuttal Report, p. 39.
90
     Calculated based on Netz Initial Report, Exhibit 22.



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          between CRT categories in the but-for world would have been the same as the allegedly
          targeted relative prices in the actual world – even if those target prices were uniformly
          adhered to by the alleged cartel members. As a result, Dr. Netz’s approach is
          fundamentally incapable of establishing that a price structure exists.

          CRTs Were Highly Differentiated.

          76.      A price structure of the sort claimed by Dr. Netz is highly unlikely in part
          because CRTs were widely differentiated by features such as application (TVs or
          computer monitors), size, shape, resolution, the inclusion or exclusion of deflection
          yokes, type of mask, electrical properties, and the extent and type of customization. CRT
          prices also often varied based on the region in which the CRT was manufactured and the
          region in which it was sold. In my report,




          77.      I also document the large degree of variation in CRT finished product pricing
          within and across retailers.92 CRT finished product prices varied widely based on the
          aforementioned characteristics of the CRT, as well as on the type of sound system,
          HDTV capability, picture-in-picture capability, whether the product included a built-in
          VCR and/or DVD player or was bundled with a desktop PC, the retailer, and the time
          period.93

          78.      In her declaration, Dr. Netz does not contest my showing that there was
          substantial heterogeneity in prices across CRT finished products sold in the U.S. She
          does, however, argue in her rebuttal report that




91
     Willig Report, ¶¶ 15, 18, 68, Exhibits 1A and 9.
92
     Willig Report, ¶¶ 20, 44 and Errata Exhibit ER-1B.
93
     Willig Report, ¶ 39.



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          79.      However, weighting prices by sales volume does not alter my conclusion that
          CRT prices in any given month exhibited substantial heterogeneity.




          80.      Dr. Netz attempts to downplay the degree of price variation by claiming that,
          among CRT product characteristics, “only application, size, and shape were meaningful
          price differentiators,” and thus CRT prices primarily differ only along three dimensions.97



94
     Netz Rebuttal Report, pp. 7-8.




97
     Netz Rebuttal Report, pp. 12-13.



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 This response is irrelevant as a matter of economic logic, as market conditions can vary
 widely even for products that only vary along three dimensions, particularly if differences
 along those dimensions have a significant impact on cost or demand.

 81.    Dr. Netz’s claim is also incorrect as an empirical matter. Although Dr. Netz
 states that a CRT’s finish (whether a CRT is shipped with a deflection yoke (“ITC”) or
 without it (“bare”)) should be thought of differently from size and shape, a CRT’s finish
 clearly has a significant effect on its price.98 Moreover, the remaining characteristics of a
 CRT transaction, including the alleged “minor” product attributes and also the identity of
 the buyer and seller, account for a substantial amount of heterogeneity in CRT pricing.
 For example, suppose a “product group” is defined as a unique combination of
 application, finish, size, and shape.




 82.     In sum, the evidence is clear that there was a substantial amount of dispersion in
 CRT prices at any given point in time during the class period. This evidence, together
 with the evidence of heterogeneous CRT price movements described below, makes the
 existence of Dr. Netz’s so-called price structure highly unlikely.




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           There Was Substantial Heterogeneity in Price Movements across CRTs.

           83.     If there were substantial heterogeneity in price movements across CRTs (i.e.,
           relative prices across CRTs changed materially over time), then it is highly likely that
           different CRTs were affected by different market forces or were affected by the same
           market forces differently. Under these conditions, a price structure of the sort claimed by
           Dr. Netz is highly unlikely.

           84.     Clearly, relative prices must be measured in a common currency in order to
           achieve an apples-to-apples comparison, and the same is true of a comparison of price
           changes across products. In my report, I use U.S. dollars in my analysis of price changes
           because Dr. Netz alleges that the putative cartel was orchestrated through the use of
           target prices that were denominated in U.S. dollars.100 U.S. dollars are the natural choice
           also because members of the proposed class of indirect purchasers are located in the U.S.,
           and they paid for their finished products in U.S. dollars. (Nonetheless, my results are
           identical regardless of which common currency is used.)




100
      Netz Rebuttal Report, fn. 55.
101
      Netz Rebuttal Report, p. 46.
102
      Netz Rebuttal Report, p. 17.



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           89.     These results reinforce my conclusion described in my report that CRT price
           movements varied widely within and across different segments of the CRT marketplace,
           including by CRT application (CPT or CDT), size, shape, and the geographic region in
           which it was sold.103 As noted above and in my report, the observed heterogeneity in
           price movements indicates that different CRTs were affected by different market forces
           (or by the same market forces differently), which is inconsistent with the alleged
           existence of a price structure for CRTs.104

           Dr. Netz Does Not Contest the Substantial Heterogeneity in Price Movements across
           CRT Finished Products.

           90.     In my report, I documented the highly differentiated price dynamics for CRT
           finished products. In particular,




                                                                                        As I discussed in
           my report,




                              It is therefore important to note that in her declaration and her rebuttal
           report Dr. Netz does not contest the accuracy and relevance of my showing that there was


103
      Willig Report, ¶¶ 17-18.
104
      Willig Report, ¶¶ 14, 21-23, 53.
105
      See, e.g., Willig Report, ¶ 20.
106
      Willig Report, ¶¶ 47-48.



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        substantial heterogeneity in price movements across CRT finished products sold in the
        U.S.

        Dr. Netz’s Own Sales Price Hedonic Analyses Undermine Her Claim of a Price
        Structure.

        91.     A “price structure” of the sort claimed by Dr. Netz in her declaration and in her
        rebuttal report cannot exist if prices in different segments of CRTs were affected by
        materially different market forces such that the ability and incentive of the alleged cartel
        to affect CRT prices differed across CRT segments. For example, if the alleged cartel
        substantially elevated the prices of some CRTs but failed to elevate prices of other CRTs
        (or elevated them less) because the latter had better substitutes and faced greater
        competition from alternative technologies, then relative prices in the actual and but-for
        worlds would be quite different – precisely the opposite of what Dr. Netz’s price
        structure would require.

        92.     As I describe in my report, Dr. Netz’s own sales price hedonic regressions
        provide evidence that relative price premiums commanded by larger CPTs over smaller
        CPTs varied considerably over time, which is strong evidence that market conditions
        differed materially between large and small CPTs. For example,




                                         Clearly, the relative prices of CPTs of different sizes varied
        substantially even during short time periods.




107
   Willig Report, ¶ 75 and Exhibit 11A. In her Rebuttal Report, Dr. Netz claims that some of the relative
CPT price variation over time may be due to exchange rate fluctuations. (Netz Rebuttal Report, p. 46.)
However, as I explain below, there exist substantial and statistically significant changes in CRT relative
prices over time even when controlling for exchange rate variation. Controlling for the shape of the CPT
(curved or flat) also does not affect this conclusion.



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           93.     Although Dr. Netz attributes some of the changes in relative CRT prices over time
           to exchange rate fluctuations,108 Dr. Netz does not dispute that
                                                     and she acknowledges that CRT price changes
           were caused by changes in market conditions.110 Nonetheless, she contends




           94.     For example, although Dr. Netz acknowledges that competition from flat screens
           (i.e., LCD and plasma) impacted CRT prices, and




108
   I have extended the annualized versions of Dr. Netz’s sales price hedonic analysis to control for
exchange rate movements, and I continue to find that relative CRT prices typically changed across years
by a statistically significantly amount.




110
      Netz Rebuttal Report, p. 46.



112
   Netz Rebuttal Report, p. 46 (“For example, if the cartel had not fixed prices and restricted output, CRT
prices in the but-for world would have changed over time due to the emergence of flat panel displays, just
as CRT prices changed in the actual world due to the emergence of flat panel displays. Any differential
impact on prices of CDTs and CPTs in the actual world due to the emergence of flat panel displays would
also have occurred in the but-for world. Because this differential impact in CDTs and CPTs would have
occurred in both the actual and but-for worlds, it is part of the price structure.”)



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113
      For example, Dr. Netz does not contest the evidence I present in my report describing




114
   Dr. Netz claims that “rational cartelization” requires that if a cartel increased prices of 15-inch CDTs
(for example), the cartel would also have to increase the prices of 14-inch CDTs or else customers that
otherwise would have purchased a 15-inch CDT would substitute to the 14-inch CDT and avoid paying
the overcharge. (Netz Rebuttal Report, p. 41.) Dr. Netz is correct that a rational cartel may not want to
elevate the price of one CRT by a substantial amount while leaving unchanged the price of a very similar
CRT. However, it is entirely plausible that a rational cartel that sought to elevate the price of 16-inch
CPTs by 10%, for example, might target a smaller overcharge for 21-inch CPTs, an even smaller
overcharge for 25-inch CPTs, and no overcharge for 29-inch or larger CPTs due to the more intense
                                                                                        (footnote continued …)


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         97.      More generally, the undisputed fact that relative prices changed substantially over
         time and that changing market conditions contributed to these relative price changes is
         inconsistent with the existence of a price structure, as defined by Dr. Netz. Substantial
         changes in relative CRT prices over time clearly indicate that different segments of CRTs
         were affected by materially different market forces. However, once this fact is
         acknowledged, it should also be clear that there is no reason to assume that relative prices
         would be about the same in the actual and but-for worlds at any given point in time. Put
         differently, if different segments of CRTs were subject to different market forces, then it
         would be incorrect to assume with no support (as Dr. Netz does) that the alleged cartel
         had the incentive or ability to elevate prices for all segments of CRTs at all times by
         similar amounts during the class period. Certainly, Dr. Netz has failed to provide any
         reason to conclude that the alleged cartel had a similar impact on all segments of CRTs
         despite the presence of quite different market forces in various CRT segments. The
         bottom line is that Dr. Netz is just assuming a common percentage price elevation across
         myriad product dimensions, which is a baseless assumption and, in fact, makes no sense
         given observed pricing behavior.

         98.      Thus, contrary to Dr. Netz, changes over time in relative prices of CRTs are
         extremely relevant for assessing price structure and classwide impact, and analyses of
         relative price changes over time show that actual pricing data are wholly inconsistent
         with the type of price structure claimed by Dr. Netz. Individualized inquiries regarding
         the heterogeneous market forces at work in different CRT segments would be required to
         assess the impact of the alleged conduct on various categories of CRTs.




(… footnote continued)


competitive constraint that flat screens imposed on larger CPTs. In this example, if the overcharge on 25-
inch CPTs were sufficiently small, few customers that otherwise would have purchased a 25-inch CPT
would substitute to a 29-inch CPT just to avoid the (very small) overcharge. Customers that otherwise
would have purchased a 16-inch CPT could avoid a more substantial overcharge by substituting from the
16-inch CPT to a 29-inch CPT, but given the substantial cost difference between 29-inch and 16-inch
CPTs ($120 compared to $44 in this example), most customers would be unlikely to consider them to be
close substitutes.



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           99.     In addition to the variability of relative prices across different categories of CRTs,
           the relative prices of CRTs also were quite different across manufacturers at the same
           point in time, as I explain in my report.115 These variations make it less likely that the
           alleged cartel was uniformly effective in raising prices of CRTs. Based on the putative
           target prices identified by Dr. Netz, the alleged cartel did not set target prices for the vast
           majority of every type or even category of CRT. Dr. Netz provides no explanation of
           how the alleged cartel members, in the face of relative prices that varied widely across
           manufacturers and over time, would have reached a common understanding about what
           price to charge for each CRT absent a complete set of explicit target prices. Absent such
           a common understanding or a complete set of explicit target prices, it is unlikely that the
           cartel would have been uniformly effective in elevating CRT prices.

           A Material Amount of CRT Price Variation Is Left Unexplained by the Factors Identified
           in Dr. Netz’s Sales Price Hedonic Regressions.

           100.    In her declaration, Dr. Netz claims that her “hedonic regression analysis …
           allowed [her] to evaluate important features like size, application and finish in regard to
           CRT prices.”116 Dr. Netz claims in both her reports that her sales price hedonic
           regressions show that certain CRT product features, time trends, and customer-seller




116
      Netz Declaration, p. 14.



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           identities explain the majority of CRT price variation.117 However, I explain in my report
           that a material amount of price variation is left unexplained by the common factors that
           are identified by Dr. Netz.118 Specifically,




           101.    In her rebuttal report, Dr. Netz articulates several responses to my analysis, but
           they are without any merit.

           102.




117
      Netz Initial Report, p.70; Netz Rebuttal p. 42.
118
      Willig Report, ¶¶ 77-79.
119
      Willig Report, fn. 66 and ¶ 79.
120
      Willig Report, Exhibits 14A and 15A.
121
      Netz Rebuttal Report, p. 50.
122
      Netz Initial Report, pp. 69-70.



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           104.    Second, she claims that I used an “impaired version” of her sales price hedonic
           regressions in my analysis when I dropped buyer-seller dummies from the regressions.
           However, she ignores the extensions and robustness checks that I performed and noted in
           my report.123 Specifically, she ignores the fact that I explain that even using the fuller
           version of her sales price hedonic regressions with buyer-seller dummies produces a
           qualitatively similar result: a material amount of variation in CRT prices remains
           unexplained by her analysis.124




123
  The backup computer programs to all the extensions and robustness checks identified in my report
were produced to Plaintiffs shortly after my report was filed.
124
   Willig Report, fn. 62, fn. 65. As explained in my report, I focused on the hedonic regressions analysis
without the individualized buyer-seller dummies because Dr. Netz discounts the importance of these
dummies and contends that observed product characteristics alone are sufficient to reliably determine
CRT price. (Id.) See ¶ 106 below for details on the magnitude of unexplained CRT price variation even
when buyer-seller identities are included in the hedonic regressions.
125
      Netz Rebuttal Report, p. 50.



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126
      Willig Report, fn. 66.

128
      Netz Rebuttal Report, p. 48.
129
   These results are based on extending the hedonic analyses described in my report (Willig Report, ¶ 75)
as described in supra note 108. The residuals are weighted by sales volume.



                                                                                      (footnote continued …)


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             107.   In sum, while Dr. Netz claims to have used well-accepted principles of economics
             and undertaken peer-reviewed methodologies to establish the existence of a price
             structure in CRTs, her price structure conclusions are not supported by record evidence
             and reliable methodologies. In addition, as I have explained in my report, there is ample
             evidence that such a price structure does not exist.131 Moreover, Dr. Netz’s responses
             related to data and regression specifications fail to rebut the conclusion that her sales
             price hedonic regressions leave a material amount of unexplained CRT price variation.


IV.          Class-wide Impact on Indirect Purchasers Cannot Be Established using
             Common Evidence.
       A. Dr. Netz Estimates Only Average Pass-Through Rates, and She Provides No
          Method for Reliably Estimating the Pass-Through Rate for a Particular Product,
          Finished Product Manufacturer, or Time Period.

             108.   In her declaration, Dr. Netz claims that she has established rather than assumed
             universal pass-through by retailers and manufacturers.132 As support for this opinion,




(… footnote continued)




131
      Willig Report, Section III A.
132
      Netz Declaration, pp. 4-10.
133
      Netz Declaration, pp. 6-7.
134
      Netz Rebuttal Report, pp. 64-65.
135
      Id.



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           109.    The “common” methodology proposed by Dr. Netz is comprised of a regression
           analysis that compares the costs and prices of CRT finished products with each other,
           both at a point in time and over time, to estimate the pass-through rate.137 However, Dr.
           Netz’s pass-through analysis is fundamentally inapposite for assessment of the proposed
           class because it estimates only the average pass-through rate for all CRT TVs or monitors
           at each finished product manufacturer or reseller in the distribution chain – averaged
           across time periods, products, and transactions. For example,




           110.    Nowhere in her declaration or other filings in the instant matter does Dr. Netz
           propose any means of applying her methodology to estimate pass-through rates for
           individual products (or groups of products), or for specific time periods. Nor does Dr.
           Netz contend that she has verified that the average pass-through rates generated by her
           methodology accurately reflect pass-through rates for individual products (or groups of
           products), or for specific time periods. This is a remarkable omission considering that Dr.




137
      Netz Initial Report, pp. 115-116.




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           Netz acknowledges that market conditions changed over time,139 and she does not contest
           my finding that different segments of CRTs were subject to different market conditions,
           as explained above.140 Given these significant differences in market conditions across
           products and over time, one would expect significantly heterogeneous (and not always
           positive) pass-through rates. The evidence supports this view, as I explain below.

           111.    In her declaration, Dr. Netz states that she used transactions-level data whenever
           possible in order to estimate pass-through rates, and she only relied on aggregated data
           when using transactions-level data was not feasible.141 However, this merely speaks to
           her data handling and the granularity of the data used; it does not refute the fact that Dr.
           Netz estimated only average pass-through rates. Similarly, her assertion that I used
           monthly average price and cost data even when transactions-level data were available142
           is irrelevant in this context; the relevant fact is that I calculated disaggregated pass-
           through rates by entity, product, and month,143 whereas Dr. Netz did not.

           112.    Having provided a methodology designed only to estimate average pass-through
           rates, Dr. Netz then cites to economic theory to support her view that pass-through rates
           were uniformly positive and high.144 Specifically, she contends that there is widespread
           agreement among economists that significant, permanent, and industry-wide cost changes




139
      Netz Rebuttal Report, p. 46.
140
      See Section III.B above.
141
      Netz Declaration, p. 11.
142
      Netz Declaration, p. 10.
143
      Willig Report, Exhibits 24 and 27.




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           would be passed through at a one-for-one rate in highly competitive industries.145
           However, Dr. Netz’s view that one-for-one (or even higher) pass-through rates must have
           prevailed for all CRT finished products at all times and all entities in the distribution
           chain is inconsistent both with industry facts that she has acknowledged, and with basic
           economic theory.

           113.    First, it is important to recognize the inconsistency of Dr. Netz’s view with
           industry facts. Dr. Netz’s opinion is based on the false premise that the alleged cartel was
           able to elevate prices of all or most CRTs in a significant and permanent manner.
           However, Dr. Netz’s claim of an across-the-board, significant, and permanent increase in
           CRT prices and a minimum pass-through rate of 100% is inconsistent with the evidence
           presented in Section III A of this declaration and in my report146 showing that the alleged
           cartel was not uniformly or consistently effective (if at all) in elevating CRT prices.




145
   Netz Declaration, p. 5. In her deposition, Dr. Netz defines an “industry-wide” cost change to mean a
change in the cost of all sellers of CRT TVs and monitors. (Netz Deposition, Vol. 2, p. 279)
146
      Willig Report, Section III B.
147
      Willig Report, ¶¶ 55-63.
148
      Willig Report, ¶¶ 97-100.



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                                                                          Thus, Dr. Netz has
           provided no sound basis to conclude that the alleged cartel was able to elevate prices in
           an industry-wide, significant and permanent manner, which undermines her claim of
           universal pass-through.

           114.     Dr. Netz’s argument for a 100% average pass-through rate also fails because she
           greatly over-simplifies the relevant economic theory. Even if the markets for the
           manufacture and re-sale of CRT TVs and monitors were perfectly competitive, that fact
           alone would not be sufficient to ensure 100% pass-through rates. Standard economic
           theory demonstrates that pass-through rates of industry-wide cost changes in perfectly
           competitive markets can diverge from 100%, and depend on factors such as supply and
           demand elasticities.151 Indeed, Dr. Netz herself acknowledges that other market
           conditions are necessary to have a 100% pass-through rate. For example, she states in
           her initial report that in a perfectly competitive industry one-for-one pass-through occurs
           when marginal costs are constant (i.e., the incremental cost of making and selling a
           product does not change with the volume of production and sales).152 However, she has
           not made any attempt to establish that this constant-cost condition is satisfied along the




150
      Netz Deposition, Vol. 2, p. 326.
151
   van Dijk, T. and F. Verboven (2008). Quantification of Damages. In Issues in Competition Law and
Policy, ABA Section of Antitrust Law, pp.2331-2348; Weyl G.E. and M. Fabinger. "Pass-through as an
Economic Tool." (2012), pp. 1-42.
152
      Netz Initial Report, p. 77.



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           long and complex CRT finished product distribution chain.




           115.    A finding that pass-through rates are zero or even negative for some finished
           products at certain periods of time is entirely consistent with economic logic and
           theory.155 First, if, as is likely, the alleged cartel was able to elevate the prices of only
           some CRTs or only in a transitory manner, or the increase was not significant, then by
           Dr. Netz’s own admission, pass-through rates could have been zero.156 As I have
           demonstrated, there are ample reasons to conclude that the alleged cartel was not
           universally effective in elevating all CRT prices.

           116.    Second, even if the alleged cartel were able to elevate prices of all CRTs in a
           permanent and significant manner, economic theory shows that not all finished product
           prices would have necessarily been elevated and prices of some may have even fallen.




154
      Netz Initial Report, pp. 75-76.
155
   Economists have found empirical evidence of negative pass-through rates. See, e.g., Michael M.
Knetter, “International Comparisons of Pricing-to-Market Behavior,” The American Economic Review,
Volume 83, No. 3 (Jun., 1993), pp. 473-486.
156
      Netz Deposition Vol. 2, pp. 273-4, 323, 325.



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           117.    The evidence indicates that pass-through rates were often not positive. In my
           report, I examine the distribution of pass-through rates for the entities analyzed by Dr.
           Netz in her initial report, and I find that each of them responded to cost shocks in widely
           divergent ways, depending on the time period and product.158 Moreover, for some
           entities, the pass-through rates were not positive in a significant number of instances.
           This heterogeneity in pass-through rates is masked by Dr. Netz’s estimates of average
           pass-through rates.




157
   See, e.g., Bulow, J. I., J. D. Geanakoplos, and P. D. Klemperer. “Multimarket Oligopoly: Strategic
Substitutes and Complements.” Journal of Political Economy, Vol. 93, No. 3. (1985) (“Multimarket
Oligopoly: Strategic Substitutes and Complements”), pp. 488-511. An increase in the transfer price of
CRTs sold within a vertically integrated finished product manufacturer need not represent an actual cost
increase since it is a transfer between integrated entities, which makes it all the more likely that an
integrated firm would not necessarily increase finished product prices in response to an elevation in CRT
transfer prices.
158
      Willig Report, ¶¶ 123-124 and Exhibit 24.
159
      Willig Report, Exhibit 24.



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           119.    The incidence of zero or negative pass-through rates is inconsistent with Dr.
           Netz’s view that CRT TV and monitor manufacturers and resellers uniformly passed-
           through cost changes, and did so at a high rate.




160
      Netz Rebuttal Report, p. 63.




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 120.   To further analyze the pass-through rates of widespread cost changes, I have
 identified quarters in which most retailers on record experienced significant and lasting
 changes in the costs of a large fraction of the CRT monitors they sold, and then
 calculated the incidence of zero or negative pass-through rates. I find that even during
 such instances of widespread, significant, and lasting cost changes, there was a high
 incidence of zero or negative pass-through rates.




                                                                           (footnote continued …)


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(… footnote continued)




167
      Netz Rebuttal Report, pp. 89-90.
168
      Willig Report, fn. 119.




                                                                          (footnote continued …)


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         123.      In sum, Dr. Netz’s “common” methodology amounts to estimating only average
         pass-through rates, and it masks substantial variation in pass-through rates across
         products and over time. Dr. Netz provides no method for reliably estimating the pass-
         through rate for a particular product, finished product manufacturer or reseller, or time
         period.

    B. Dr. Netz’s Methodology for Estimating Pass-Through Is Unreliable because It Does
       Not Control for Changes in Market Conditions and Does Not Properly Control for
       Differences across Products.

         Dr. Netz Makes No Effort to Control for Changes in Market Conditions during the Class
         Period, thereby Rendering Her Average Pass-Through Estimates Unreliable.

         124.      As I explain in my report, CRT TV and monitor prices typically declined during
         the class period, and some of this decline was likely caused by reductions in
         manufacturing costs of CRT TVs and monitors. However, it is very likely that some of
         the decline in retail prices of CRT finished products was also caused by changes in
         consumer preferences in favor of newly emergent LCD and plasma technologies, whose
         prices dropped considerably and whose quality improved during the class period.172 A
         proper estimate of pass-through rates would separate these two sources of pricing
         pressure (i.e., cost reduction and demand reduction) on CRT TVs and monitors.
         Conflating and aggregating the two would exaggerate pass-through rates and attribute the
         entire decrease in prices of CRT finished products to the decline in costs when, in fact,

(… footnote continued)


negative pass-through rates in at least 10% of those events when cost change events are defined as




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             the decrease in prices was at least partly due to changes in consumer preferences and to
             LCD and plasma competition.

             125.   In her initial report, Dr. Netz acknowledges that market conditions (such as the
             relative quality of products) changed over the course of the class period, and that it is
             necessary to address these changes in order to properly estimate pass-through rates:
             “[W]hen observing changes in prices and costs over time, not only is the cost changing,
             but other factors are changing too, such as the quality of the product relative to other
             available products” 173 and “[i]f one uses time-series data, one can include variables to
             control for changes that take place over time.”174 Nevertheless, as noted in my report, Dr.
             Netz fails in her pass-through analyses to control for changes in market demand for CRT
             finished products that occurred during the class period.175 Dr. Netz does not contest or
             even address this critique of potential bias in her declaration or her rebuttal report, and
             her pass-through analyses continue to suffer from this critical flaw. In her deposition, Dr.
             Netz acknowledged that she did not control for increasing LCD and plasma competition
             in her pass-through analyses.176

             126.   Given the enormous changes in market conditions during the 1995-2007 class
             period, Dr. Netz’s failure to control for changes in market conditions is a serious
             omission that potentially inflates her estimates of average pass-through rates. As
             explained in my report,177 making just one change to Dr. Netz’s pass-through method,
             i.e., including a control for time trends (in a manner that is standard in empirical
             economics to control for market changes, and is very similar to the one that Dr. Netz
             herself uses in her hedonic regressions), leads to very different results from hers.




173
      Netz Initial Report, p. 116.
174
      Id.




176
      Netz Deposition, Vol. 2, pp. 382-383.
177
      Willig Report, fn. 134.



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           127.    Although Dr. Netz fails to control for changes in market conditions when
           estimating average pass-through rates, despite stating that such controls are necessary,
           she does raise several concerns about the manner in which I control for market trends.181 I
           have reviewed each of her criticisms and found them all to be without merit, as explained
           in the remainder of this section.

           128.    First, Dr. Netz contends that the time trend variable in my pass-through
           regressions may not control for general market-wide trends because it is simultaneously
           attempting to control for “general marketplace trends” and “individual product cycles.”182
           She appears to believe that the trend variable “captures how long a product has been sold




181
      Netz Rebuttal Report, pp. 80-81.
182
      Netz Rebuttal Report, p. 80.



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             by each firm.”183 Thus, she interprets the trend variable as an imperfect metric of how
             long a product has been on the market (the product’s “age”). She then proceeds to
             criticize this variable for its imperfections in measuring a product’s age, and for
             attempting to function doubly as a control for a product’s age and as a control for market
             trends.

             129.      Dr. Netz is mistaken in her incorrect assumption that the trend variable I rely on is
             a product-specific age metric. It is not. Instead, it is a metric that captures overall market
             trends (which includes the tendency for CRT finished products’ prices to decrease over
             time). This should have been evident from the plain fact that the trend variable takes on
             the same value (before scaling for the lifetime average price of a product) for all products
             in a given month. For example, if product A had been sold by a retailer for 6 months, and
             product B for 12 months as of June 2000, and they happen to have the same lifetime
             average price, then the two products would have identical time trend values. Thus, my
             metric of time trends is not a measure of a product’s age, and it appropriately captures
             market trends.

             130.      Dr. Netz’s second critique is that my market trend variable is “linear,” which
             amounts to an assumption that prices fall over time at a linear rate.184 However, as I
             described in my report, I have conducted multiple robustness tests that control for market
             trends in various ways, including standard non-linear methods of controlling for changes
             in relevant conditions over time, such as the use of quarter fixed effects and a scaled log
             of time trend.185 Dr. Netz just ignores these extensions in her declaration and rebuttal
             report.

             131.      Third, Dr. Netz claims that I mistakenly treat identical products differently.




183
      Id.
184
      Netz Rebuttal Report, p. 81.
185
      Willig Report, ¶ 173(e).



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           132.    Fourth, Dr. Netz contends that including a time trend variable in my pass-through
           regressions reduces the precision of the estimated average pass-through rates because the
           time trend variable is correlated with CRT cost trends.188 This objection ignores the
           manifest benefit of including such a control, i.e., the ability to produce reliable (unbiased)
           estimates of average pass-through rates. By not controlling for market trends, Dr. Netz’s
           approach produces average pass-through estimates that are likely biased upwards, i.e.,
           she over-estimates average pass-through rates. Moreover, contrary to Dr. Netz’s
           assertion, my estimates of average pass-through rates are extremely precise. If the
           problem alleged by Dr. Netz were material, I would expect that my approach would often
           be unable to reject the possibility that the average pass-through rate is zero (i.e., the
           confidence intervals associated with pass-through rates would be so wide that they would
           include zero).




186
      Netz Rebuttal Report, p.80.

188
      Netz Rebuttal Report, p. 81.
189
  Ramanathan, R. (1995). Introductory Econometrics with Applications, Third Edition, Harcourt Brace
College Publishers (“Introductory Econometrics with Applications”), p. 50.



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           133.    Finally,




           Dr. Netz’s Method for Estimating Pass-Through Fails to Control Appropriately for
           Differences in Products.

           134.    As I explained in my report, Dr. Netz does not properly control for differences
           across products in her pass-through analyses.193 Dr. Netz’s estimation of average pass-
           through rates relies in large part on comparing the prices and costs of different CRT
           finished products. For example,




190
      Netz Rebuttal Report, p. 81.




192
      Willig Report, ¶173.
193
      Willig Report, ¶¶ 128-130.



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194
      This example is discussed in Willig Report, ¶¶ 128-130.
195
      Id.



197
    Netz Initial Report, p. 116 (“….when observing multiple products or a product sold at multiple outlets
at a single point in time, there may be differences across products and/or across outlets that may have an
impact on price as well as on cost.”)



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           More generally, Dr. Netz does not have consistent data on product features across


198
   Netz Rebuttal Report, p. 76 (“The fundamental difference between his approach and mine is that I
control for those product differences that are economically meaningful, whereas Prof. Willig controls for
any and all differences between two products, regardless of whether or not those criteria are likely to have
an impact on price.”)
199
      Netz Rebuttal Report, p. 12.
200
      Netz Rebuttal Report, Exhibit RR-35.




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           resellers and manufacturers, and hence she relies on incomplete data on product features.
           These gaps make Dr. Netz’s estimates of average pass-through rates unreliable.

           138.      In my report, I implemented a standard solution – product fixed effects – for
           addressing the problem of incomplete information on product features that fully controls
           for differences between products.202 Economists have known for a long time that this type
           of data limitation can lead to biased and unreliable estimates, and have also long
           recognized that the use of fixed effects estimation can alleviate this problem.203

           139.      Dr. Netz objects to this approach on the grounds that I have treated identical
           products as if they were separate and distinct, thus making distinctions between products
           based on features that may not have any economic meaning.204 She provides anecdotal
           support for this claim by citing to several CRT finished products that she concludes are
           identical (based on her review of their product features as described on various web
           sites).




                                                                  Clearly, there were economically
           meaningful differences between these two models. The same conclusion applies to the
           other anecdotal examples of putatively identical products that Dr. Netz provides.205



202
      Willig Report, fn. 133, fn. 141, ¶ 163d, ¶ 174d.
203
   An early reference to the potential for incomplete information on control variables to introduce biased
estimates and the use of fixed effects as a solution can be found in Mundlak, Y. “Empirical Production
Function Free of Management Bias.” Journal of Farm Economics, Vol. 43, No. 1 (Feb., 1961), pp. 44-56.
A later discussion can be found in Wooldridge, J. (2002). Econometric Analysis of Cross Section and
Panel Data, The MIT Press, pp. 247-251.
204
      Netz Rebuttal Report, pp. 77-78.




                                                                                       (footnote continued …)


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             140.   More generally, even if my approach were to treat two products that were
             identical in every way as separate and distinct products, this would not introduce any bias
             into the estimated product fixed effects or the estimated average pass-through rate.

             141.   Additionally, statistical evidence shows that my method better controls for
             product differences than Dr. Netz’s method. In particular, my method explains
             substantially more of the variability in CRT finished product prices.206 Moreover, the
             increase in explanatory power is highly statistically significant, which is inconsistent with
             and refutes Dr. Netz’s claim that the features she fails to control for are not economically
             important.

             142.   Finally, Dr. Netz claims that my methodology is suspect because it produces
             implausible estimates of pass-through rates.207 For example, she claims that my method
             produces different pass-through rates for products that she considers to be nearly identical
             (based on information provided in various web sites about the products’ features).




(… footnote continued)


models were sold by Circuit City, the CTSGT-2799C was consistently priced higher than CTSGT-2799T,
and the difference in their monthly average prices was as high as 53%.
206
   Specifically, my staff, under my supervision, estimated Dr. Netz’s regression model with one
modification: product fixed effects were added to her model. (Where there was perfect collinearity
between Dr. Netz’s product characteristics and certain product fixed effects, the relevant product fixed
effects were dropped.) If the product fixed effects explain economically significant product features
beyond those explained by Dr. Netz’s variables, then model fit should improve substantially as a result of
this modification.




207
      Netz Rebuttal Report, p. 79.
208
      Id.



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209
      Willig Report, ¶¶ 122, 136-137 and Exhibit 27.
210
      Netz Rebuttal Report, p.78



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                                                          It is well known among economists that
           parameter estimates based on small samples are more likely to be less precise.212

           145.    In fact, Dr. Netz’s own approach to estimating pass-through rates – when applied
           to disaggregated data sets and specific product categories – generates extreme and
           implausible pass-through rates. For example, I have applied Dr. Netz’s model to the data
           that she uses in her top-and-bottom pass-through analysis to estimate pass-through rates
           for products with various product features that she deems are important drivers of TV
           prices.213 This analysis produces estimated pass-through rates for specific product
           categories based on Dr. Netz’s model.




212
      See, e.g., Introductory Econometrics with Applications Chapter 3.4.




214
      Netz Rebuttal Report, Exhibit RR-34.



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           146.    Thus, Dr. Netz’s mis-application of my approach to small data samples leads her
           to erroneous conclusions. My conclusions in my report hold: pass-through rates for
           various products sold by retailers are likely to be heterogeneous; and this heterogeneity is
           likely caused by differences in market conditions across different product categories,
           time-varying practices, and limitations in available data. Consequently, contrary to Dr.
           Netz’s claim, disaggregated pass-through rates for CRT finished products cannot be
           reliably estimated using a regression-based formulaic approach.

           Dr. Netz Has Not Demonstrated that She Has Examined a Representative Sample.

           147.    In her declaration and in her deposition, Dr. Netz contends that she attempted to
           generate a representative sample of CRT TV manufacturers for her pass-through
           analysis.217




217
      Netz Declaration, p. 9 and Netz Deposition, Vol. 2, p. 366



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                                    Thus, not only does Dr. Netz have a very small sample of finished
           product manufacturers that includes just one major manufacturer, the entities in her
           sample passed through cost changes at widely divergent rates.

           148.    Dr. Netz claims that this small and diverse sample of manufacturers is nonetheless
           representative of the larger universe of manufacturers because “even ‘tiny’ samples are
           likely to be representative” since cost changes are likely to be passed through in a
           competitive environment.219 However, she acknowledges that even in competitive
           industries, firms may not pass through changes in costs that affect only some products,
           are not significant, or are transitory,220 and


                                                            Thus, Dr. Netz has provided no sound reasons
           to conclude that her limited sample of CRT finished product manufacturers provides a
           reliable basis to opine about pass-through rates at the many manufacturers she has not
           analyzed.221

           149.    Similarly, Dr. Netz contends that her retailer sample is representative of the larger
           population of retailers.222 However, even among the retailers in her sample,


                                                                               As I have explained above
           in paragraphs 117-118, the pass-through rates associated with specific models of finished




219
      Netz Declaration, p. 9.
220
      Netz Deposition Vol. 2, pp. 273-4, 323, 325.
221
   Dr. Netz contends that the small confidence interval associated with each pass-through rate estimate
she generates is also evidence that her data are representative of the larger population of relevant entities.
(Netz Declaration, p. 8) However, these confidence intervals are irrelevant for the issue of
representativeness. It is possible to obtain small confidence intervals for pass-through rates for a sample
that is not representative of the larger population of entities.
222
      Netz Declaration, pp. 7-8.



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      products in certain months were substantially different from average pass-through rates
      estimated by Dr. Netz.

      150.   More generally, Dr. Netz has conducted no objective analysis of whether the
      samples of CRT TV and monitor sales she examines are representative of the relevant
      population of finished product sales. For example, she could have compared data from
      her sample of manufacturers with data from her sample of retailers to determine if the
      data are consistent. I have examined them and found them to be substantially
      inconsistent in their coverage of finished products.




                               Similar mismatches are apparent in other years and for other size
      groups of monitors and TVs, which indicate that the data are not likely to be
      representative. Even if Dr. Netz’s sample of retailers and manufacturers were consistent
      in terms of the size distributions of TVs and monitors sold by such entities, the entities in
      her sample may not be representative of the overall population of retailers and
      manufacturers along other dimensions (such as business models employed) that
      potentially matter for pass-through rates. Dr. Netz has conducted no objective analysis of
      the representativeness of her sample along these dimensions.


V.    Conclusion
      151.   While Dr. Netz claims to have used well-accepted principles of economics and
      undertaken peer-reviewed methodologies to establish the existence of a price structure in
      CRTs, her price structure conclusions are not supported by record evidence and reliable
      methodologies. More generally, Dr. Netz has failed to provide any valid support in her
      declaration for any of the three claims that underlie her proposed generalized approach
      for establishing classwide impact, which renders her approach essentially a series of
      inappropriately applied methodologies and unsupported assumptions leading to unreliable
      conclusions.

      152.   First, Dr. Netz has failed to demonstrate that any actual CRT price was higher
      than the corresponding target price, much less the corresponding but-for price. Indeed,


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 she does not contest the point that her own data demonstrate that the majority of actual
 CRT sales prices were below the target prices that she identifies. Second, she has failed
 to demonstrate that a price structure exists since the evidence she offers as support for a
 price structure demonstrably does not, in fact, support her claimed existence of a price
 structure. Third, she has failed to establish her claim that pass-through rates were
 uniformly positive. She does not claim that the regression methodology can be used to
 test her view of uniform positive pass-through rates and she provides no empirical
 support for her claim of universal pass-through.

 153.   Overall, it is my conclusion that the fact of impact on all of the members of the
 proposed IPP class from the alleged collusion among the defendant CRT producers
 cannot be established by means of common evidence and methods. It is also my
 conclusion that Dr. Netz’s proposed methodologies to establish common impact are
 unreliable and unsupported by record facts and economic theory.




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I declare under penalty of perjury that the foregoing is true and correct to the best of my
knowledge and belief. This declaration was executed on the 25th day of March 2013 in
Princeton, New Jersey.




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                             Attachment 1:
   Expert Testimony Provided by Robert D. Willig in the Last Four Years

   1. In the Matter of Verizon New Jersey, Inc. – Resolution for Assistance
      Resolving Interconnection Negotiations with US Cable of Paramus/Hillsdale,
      Time Warner Cable, Cablevision, and Comcast; Before the State of New Jersey
      Office of Board of Public Utilities, Docket No. CO07070524; expert report
      4/21/2008, testimony 5/12/2008.

   2. In the Matter of Verizon New Jersey, Inc. – Resolution for Assistance
      Resolving Interconnection Negotiations with US Cable of Paramus/Hillsdale,
      Time Warner Cable, Cablevision, and Comcast; Before the State of New Jersey
      Office of Board of Public Utilities, Docket No. CO07070524; expert report
      4/21/2008, testimony 5/12/2008.

   3. New England Carpenters Health Benefits Fund et al. v. First Databank, Inc.,
      and McKesson Corp. In the United States District Court for the District of
      Massachusetts, Civil Action: 1:05-CV-11148-PBS, expert report 1/24/2007;
      rebuttal expert declaration 5/07/2007; expert declaration 10/15/2007; rebuttal
      expert declaration 11/08/2007; expert declaration 11/28/2007, expert
      declaration 5/21/08, expert report 10/1/08.

   4. AT&T and Centennial; Before the Federal Communications Commission; WT
      Docket No. 08-246; expert report 11/20/2008.

   5. In the Matter of Lisa Reed and Cindy Digiannantonio v. Advocate Health Care,
      et al. In the Northern District of Illinois Eastern Division, Civil Action No. 06
      C 3337; expert report 1/20/2009; Supplemental 2/27/2009; deposition
      testimony 3/23/2009-3/24/2009.

   6. In the matter of Implementation of Section 6002(b) of the Omnibus Budget
      Reconciliation Act of 1993, Annual Report and Analysis of Competitive
      Market Conditions with Respect to Mobile Wireless Including Commercial
      Mobile Services; Before the Federal Communications Commission; WT
      Docket No. 09 66; declaration, 9/30/09.

   7. Cindy Cullen, Wendy Fleishman, on Behalf of Themselves and All Others
      Similarly Situated v. Albany Medical Center, Ellis Hospital, Northeast Health,
      Seton Health System, and St. Peter’s Health Care Service,        In the United
      States District Court for the Northern District of New York, Civil Action No.
      06-CV-0765/ TJM/ DRH; expert report 2/29/2008; deposition 3/27-28/2008;
      expert report 9/4/2009; deposition 11/19-20/2009, declaration 12/28/2009.

   8. In the Australian Competition Tribunal: Re: Application for Review of the
      Deemed Decision by the Commonwealth Treasurer of 23 May 2006 under
      Section 44H(9) of the Trade Practices Act 1974 (CTH) in Relation to the
      Application for Declaration of Services Provided by the Mount Newman



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      Railway Line, By: Fortescue Metals Group Limited; Re: Application for
      Review of the Deemed Decision by the Commonwealth Treasurer of 27
      October 2008 under Section 44H(1) of the Trade Practices Act 1974 (CTH) in
      Relation to the Application for Declaration of Services Provided by the Robe
      RailwayBy: Robe River Mining Co PTY LTD & ORS; Re: Application for
      Review of the Deemed Decision by the Commonwealth Treasurer of 27
      October 2008 under Section 44H(1) of the Trade Practices Act 1974 (CTH) in
      Relation to the Application for Declaration of Services Provided by the
      Hamersley Rail Network, By: Hamersley Iron Co PTY LTD & ORS; Re:
      Application for Review of the Deemed Decision by the Commonwealth
      Treasurer of 27 October 2008 under Section 44H(1) of the Trade Practices Act
      1974 (CTH) in Relation to the Application for Declaration of Services
      Provided by the Goldsworthy Railway, By: BHP Billiton Iron Ore PTY LTD
      and BHP Billiton Minerals PTY LTD; expert report 6/30/2009 and 9/18/2009,
      trial testimony 11/2/2009-11/6/2009.

   9. Stagecoach Group PLC and Coach USA, Inc., et al, Acquisition of Control,
      Twin America, LLC, Before the Surface Transportation Board, Verified
      Statement of Professor Robert D. Willig, Submitted November 17, 2009.

   10. In re: Rail Freight Fuel Surcharge Antitrust Litigation, In the United States
       District Court for the District of Columbia, MDL Docket No. 1869, Misc. No.
       07-489 (PLF), expert report 8/1/2010, deposition 8/4/2010.

   11. Before the Federal Reserve Bank: Docket Number R-1404: Proposed Rule on
       Debit Card Interchange Fees and Routing, written statement 2/22/2011.

   12. Before the Surface Transportation Board: Docket Number EP 704: Review of
       Commodity, Boxcar, and TOFC/COFC Exemptions; written statement
       1/31/2011; testimony at hearing 2/23, 24/2011.

   13. New Zealand Commerce Commission vs. Malaysian Airline Systems Berhad,
       Ltd. and et. al.; High Court of New Zealand: CV 2008-404-8350, Brief of
       Evidence 4/28/2011, trial testimony 5/20/11 and 5/23-27/2011.

   14. Before the Federal Communications Commission: Docket Number 11-65: For
       Consent to Assign or Transfer Control Licenses and Authorization, written
       reply statement 6/9/2011.

   15. In Re: Checking Account Overdraft Litigation, MDL No. 2036 In the United
       States District Court for the Southern District of Florida, Miami Division, Case
       No. 09-MD-02036-JLK, Luquetta v. JPMorgan Chase Bank, Declaration In
       Support of JP Morgan Chase Bank, N.A.'s Opposition to Class Certification,
       June 16, 2011.

   16. Before the Surface Transportation Board: Docket Number EP 705:
       Competition in the Rail Industry, written statement 4/12/2011, written reply
       statement 5/27/2011, testimony at hearing 6/22, 23/2011.


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   17. In the Matter of Rambus Inc. v. Micron Technology, Inc., et al. In the Superior
       Court of the State of California County of San Francisco, Civil Action No. 04-
       431105; expert report 11/08/2008; supplemental expert report 12/19/2008,
       deposition testimony 5/7/2009-5/8/2009, trial testimony 9/1,6,7/2011.

   18. In Re McKesson Governmental Entities Average Wholesale Price Litigation,
       Master File No.: 1:08-CV-10843-PBS; The Board of County Commissioners
       of Douglas County, Kansas et al. v. McKesson Corp., expert report, April 14,
       2010, Response Report, June 28, 2010; Related to Connecticut v. McKesson
       Corp., expert report, April 14, 2010; Related to Montana v. McKesson
       Corporation, expert report, November 8, 2010; Related to Oklahoma v.
       McKesson Corporation, expert report, November 8, 2010; San Francisco
       Health Plan, et al. v. McKesson Corporation, rebuttal expert report, 9/19/2011.

   19. Before the Public Service Commission of Maryland, Case No.: 9271, In the
       Matter of the Merger of Exelon Corp. and Constellation Energy Group, Inc.,
       written market power rebuttal testimony, 10/17/2011, written surrebuttal
       testimony 10/26/2011, hearing testimony, 11/2011.

   20. In Re TFT-LCD (Flat Panel) Antitrust Litigation, In the United States District
       Court Northern District of California San Francisco Division, DELL Inc., et.
       al., v. SHARP Corporation, et al., Case No. 3:10-cv-01064 SI MDL No. 3:07-
       md-1827-SI, expert report 2/23/2012, deposition 4/18/2012.

   21. In Re TFT-LCD (Flat Panel) Antitrust Litigation, In the United States District
       Court Northern District of California San Francisco Division, Motorola
       Mobility Inc. v. SHARP Corporation, et al.,Case No. 3:09-cv-05840SI MDL
       No. 3:07-md-1827-SI, expert report 2/23/2012, deposition 4/18/2012.

   22. In Re TFT-LCD (Flat Panel) Antitrust Litigation, In the United States District
       Court Northern District of California San Francisco Division, AT&T Mobility
       Inc. v. SHARP Corporation, et al.,Case No. 09-cv-4997 SI MDL No. 07-m-
       1827-SI, expert report 2/27/2012, deposition 4/18/2012.

   23. In Re TFT-LCD (Flat Panel) Antitrust Litigation, In the United States District
       Court Northern District of California San Francisco Division, BEST BUY
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Expert Report of Robert D. Willig, December 17, 2012 and all materials cited in Attachment 3 of
the report.
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Depositions and Exhibits
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OECD “unemployment.xlsx”
Best Buy, “BBYCRT000081_Highly Confidential û AttorneysÆ Eyes




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